Case 2:01-cr-00011   Document 414   Filed 06/02/06   Page 1 of 6 PageID #: 1658
Case 2:01-cr-00011   Document 414   Filed 06/02/06   Page 2 of 6 PageID #: 1659
Case 2:01-cr-00011   Document 414   Filed 06/02/06   Page 3 of 6 PageID #: 1660
Case 2:01-cr-00011   Document 414   Filed 06/02/06   Page 4 of 6 PageID #: 1661
Case 2:01-cr-00011   Document 414   Filed 06/02/06   Page 5 of 6 PageID #: 1662
Case 2:01-cr-00011   Document 414   Filed 06/02/06   Page 6 of 6 PageID #: 1663
